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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                      for the
                                                                                                   2fl1   OCT    -.7           10:   50
                                                         Western District of Texas

                  United States of America
                                V.                                       )

                                                                         )      CaseNo.
                 Ferreira-Alves, Alailson
            Sousa Nascimiento Alves, Patricia
            Nascimiento-Alves, Jhenyfer Loren
                                                                                      tq

                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best        of my knowledge and belief.
                                               October 3, 2019                  in the county of           El Paso                        in the
On or about the date(s) of
      Western          District of               Texas            ,   the defendant(s) violated:

             Code Section                                                          Offense Description
 18 U.S.C. 371                                    Two or more persons conspire to commit any offense against the United
                                                  States, to defraud the United States, or any agency, in any manner or for any
                                                  purpose.




          This criminal complaint is based on these facts:
 See Attached Affidavit




            1   Continued on the attached sheet.


                                                                                                     Complainant 's signature

                                                                                             Ana M. Avalos, HSI Spe/cial Agent
                                                                                                      Printed name and/itle

 Sworn to before me and signed in my presence.


 Date:             10/07/2019
                                                                                                          Judge 's signature

                                         El   Paso, Texas                             Robert F. Castaneda - U.S. Magistrate Judge
 City and state:
                                                                                                      Printed name and title
                                                                                    Sworn
                                                           Oath Tee

                                                                                  (bX2'(P)
                                                            Fed R.CrLt11.4
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                                          AFFIDAVIT

On October 3, 2019, at approximately 2:00 a.m., Alaison FERREIRA-Alves (hereafter
FERREIRA-Alves), Patricia SOUSA Nascimiento Alves (hereafter SOUSA), and Jhenyfer Loren
NASCIMIENTO-Alves (hereafter NASCIMIENTO-Alves), were arrested by the United States
Border Patrol (USBP) Agents as they attempted to illegally enter the United States from Mexico
approximately 1.18 mile west of the Paso Del Norte Port of Entry in El Paso, Texas. In this area,
the Rio Grande River serves as 4ie International Boundary between Mexico and the United States.
The place where FERREIRA-Afres, SOUSA, and NASCIMIENTO-Alves attempted to enter the
United States has not been desinated as an official port of entry by an immigration Officer of the
United States, therefore, FER4EIRA-Alves, SOUSA, and NASCIMIENTO-Alves were not
legally inspected, admitted, or proled into the United States.

FERREIRA-Alves, SOUSA, anl NASCIMIENTO-Alves freely admitted that they were citizens
and nationals of Brazil with no documents or status that would allow them to be in or remain in
the United States legally. FEREIRA-Alves claimed NASCIMIENTO-Alves was a minor and
presented themselves as a famly unit (father/mother! juvenile daughter). FERREIRA-Alves,
SOUSA, and NASCIMIENTO-Alves were arrested and transported to the El Paso Border Patrol
Station for further processing.

At the USBP Station, FERRE RA-Alves and SOUSA identified themselves as the biological
parents of NASCIMIENTO-A yes. FERREIRA-Alves presented their duly issued Brazilian
Passport that bore their nams, dates of birth, and likeness. FERREIRA-Alves presented
counterfeit Brazilian Passport #FG141119 on behalf of NASCIMIENTO-Alves. The counterfeit
passport bore NASCIMIENT-Alves' name and identified her as a minor, born in 2002.
NASCIMIENTO-Alves providd the date of birth depicted on the passport to intake officers,
which identified her as a mino. All passports have Mexican Customs stamps dated October 1,
2019.

On October 4, 2019, Homelan4 Security Investigations (HSI) Special Agent (SA) Ana Avalos
began an investigation regardin the misuse of documents to gain entry to the United States. SA
Avalos met with USBP Agent Jose Chavez who interviewed all three parties. USBP Agent
Bernardo Hernandez, a native Portuguese speaker, served as the translator for the interviews.
Below are summaries of all inerviews, it is not intended to be a verbatim account and does not
memorialize all statements made during the interviews. SA Avalos learned the following:

 On October 3, 2019, USJ3P        Jgent Chavez, witnessed by USBP Agent Bernardo Hernandez
presented FERREIRA-Alves his rights per Miranda Warning in the Portuguese language.
FERREIRA-Alves read the waifnings and stated he understood his rights and agreed to speak with
the agents without an attorney resent. FERREIRA-Alves was also provided with a written, Title
18 USC 1001 Form in Portuguse which he acknowledged and signed.
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FERREIRA-Alves stated he left Brazil on or about Sunday September 28, 2019, and flew into
Mexico with his wife and biological daughter whom he claimed was 17 years of age. FERREIRA-
Alves admitted to hiring a smuggler, "Vito" to help him enter the United States. Vito provided
FERREIRA-Alves with a point of contact in the US who was supposed to help him, and his family
obtain employment. When asked about the legitimacy of the Brazilian passports, FERREIRA-
Alves stated all passports were legitimately issued to them in Brazil. Agents explained
NASCIMIENTO-Alves' passport had been deemed fraudulent to which FERREIRA-Alves
responded that he was not sure of the legitimacy since it had been given to him by the Brazilian
authorities.

FERREIRA-Alves was reminded of the implications of lying to a federal officer at which time
FERREIRA-Alves recanted all his previous statements and admitted to being coached by Vito on
what to say and what documents to present to USBP Agents to successfully pose as a legitimate
family unit with a minor daughter since he was fully aware that it was easier to be released into
the United States if he was with a minor. FERREIRA-Alves admitted NASCIMIENTO-Alves
was 19 years old and knew the Brazilian passport was fraudulently manufactured by Vito's
acquaintances. FERREIRA-Alves admitted he agreed, along with SOUSA, NASCIMIENTO-
Alves, and Vito, to present a fraudulent passport of behalf of NASCIMIENTO-Alves to US
immigration authorities.

SA Avalos met with FERREIRA-Alves and reminded him of his rights. FERREIRA-Alves stated
he understood and agreed to speak with the agent without an attorney present.

FERREIRA-Alves stated SOUSA and NASCIMIENTO-Alves were fully aware of the agreement
he made with Vito and were willing to participate. FERREIRA-Alves sat them down and
explained Vito promised to get them into the U.S. but, they had to falsely represent
NASCIMIENTO-Alves a juvenile. This conversation happened in Brazil and FERREIRA-Alves
admitted it was his idea to hire Vito with SOUSA and NASCIMIENTO-Alves in agreement.
FERREIRA-Alves signed a contract with Vito and agreed to pay him $20,000 for his services.

On October 3, 2019, USBP Agent Chavez, witnessed by USBP Agent Bernardo Hernandez
presented SOUSA her rights per Miranda Warning in the Portuguese language. SOUSA read the
warnings and stated she understood her rights and agreed to speak with the agents without an
attorney present. SOUSA was also provided with a written, Title 18 USC 1001 Form in Portuguese
which she acknowledged and signed.

SOUSA confirmed the line of travel provided by FERREIRA-Alves and the arrangements made
with the smuggler Vito. At first SOUSA stated several times NASCIMIENTO-Alves was a minor
and that the passport presented on her daughter's behalf was legitimate and all the information on
it was correct. SOUSA was made aware of FERREIRA-Alves' admissions at which time SOUSA
recanted her previous statements and admitted the biological page of the passport was altered to
present NASCIMIENTO-Alves as a juvenile. SOUSA admitted NASCIMIENTO-Alves was 19
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years old born in 2000. SOUSA stated she was just trying to help FERREIRA-Alves since it was
his idea to travel to the U.S. and to have NASCIMIENTO-Alves pose as ajuvenile for their benefit.

SOUSA stated she paid about $400 to a smuggler and was fully aware of the agreement between
FERREIRA-Alves and Vito. SOUSA stated she agreed to help FERREIRA-Alves get into the
United States by making NASCIMIENTO-Alves pose as a juvenile. SOUSA knew she was
committing a crime and agreed to lie to immigration authorities to get released as a family unit.

SA Avalos met with SOUSA and reminded him of her rights. SOUSA stated she understood and
agreed to speak with the agent without an attorney present.

SOUSA stated all arrangements made with Vito were done by FERREIRA-Alves. SOUSA stated
FERREIRA-Alves spoke to her and NASCIMIENTO-Alves about the trip and having to change
NASCIMIENTO-Alves' age to make her a juvenile. SOUSA stated she knew if they presented
themselves as adults, they would not be able to stay in the U.S. as a family and would be deported.
SOUSA admitted to knowing the passport presented for NASCIMIENTO-Alves was fraudulent
and did not correct the incorrect information to USBP Agents.

SOUSA stated she had to pay money back to Vito but was not sure of how much or when. SOUSA
admitted to traveling to Mexico by plane with FERREIRA-Alves, and NASCIMIENTO-Alves.
NASCIMIENTO-Alves presented the fraudulent passport to seek admission into Mexico while
SOUSA and FERREIRA-Alves used their duly issued Brazilian passports.

On October 3, 2019, USBP Agent Chavez, witnessed by USBP Agent Bernardo Hernandez
presented NASCIMIENTO-Alves her rights per Miranda Warning in the Portuguese language.
NASCIMIENTO-Alves read the warnings and stated she understood her rights and agreed to speak
with the agents without an attorney present. NASCIMIENTO-Alves was also provided with a
written, Title 18 USC 1001 Form in Portuguese which she acknowledged and signed.

NASCIMIENTO-Alves stated SOUSA and FERREIRA-Alves were her biological parents and
corroborated travel information they had provided. NASCIMIENTO-Alves denied using services
of a smuggler. NASCIMIENTO-Alves was reminded of the penalties she may face if she kept
providing false or misleading statements to federal agents. NASCIMIENTO-Alves continued to
insist that she was a minor and all the information on her passport was correct.

NASCIMIENTO-Alves was made aware of the statements made by SOUSA and FERREIRA-
Alves at which time she admitted she was the key to the agreements. She was aware they had to
pose as a family unit with a minor in order to stay in the U.S. together. NASCIMIENTO-Alves
knew she would stay in custody until the time of her deportation if she presented herself as an
adult. NASCIMIENTO-Alves admitted to being 19 years old and not 17 as the fraudulent passport
depicted. NASCIMIENTO-Alves provided her correct date of birth.
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SA Avalos met with NASCIMIENTO-Alves and reminded her of her rights. NASCIMIENTO-
Alves stated she understood and agreed to speak with the agent without an attorney present.

NASCIMIENTO-Alves admitted to using the fraudulent Brazilian passport to seek admission
upon arriving to Mexico with her parents. NASCIMIENTO-Alves claimed her legitimate passport
was taken in Mexico by smugglers and the fraudulent passport was created in Brazil and given to
FERREIRA-Alves by Vito. NASCIMIENTO-Alves stated it was her father's idea to travel to the
U.S. and he made all the arrangements with Vito. NASCIMIENTO-Alves was told by her father
that she needed to pose as a juvenile in order to enter and remain in the U.S. and she made no effort
to correct the false biographical information given to USBP Agents by her father.
NASCIMIENTO-Alves was aware her family owes Vito money but did not know how much or
when the first payment was due. NASCIMIENTO-Alves agreed to lie about her age so she can
study and work in the U.S.

Because this Affidavit is being submitted for the limited purpose of establishing probable cause as
set forth herein, I have not included each and every fact know to me concerning this investigation.
